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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LAWRENCE H. GRESS, on behalf of himself )
and others similarly situated,             )
                                           )
                               Plaintiff,  )
                                           )         Case No. 1:20-cv-04405
v.                                         )
                                           )         Hon. Jorge L. Alonso
COMMONWEALTH EDISON COMPANY, )
an Illinois corporation; JOHN DOES 1-100,  )
                                           )
                               Defendants. )

         MOTION TO WITHDRAW APPEARANCE OF GAYLE E. LITTLETON

        Pursuant to Local Rule 83.17, Defendant Commonwealth Edison Company (“ComEd”)

requests leave to withdraw the appearance of Gayle E. Littleton as counsel for ComEd. In support

thereof, ComEd states as follows:

        1.    On August 24, 2020, Ms. Littleton entered an appearance on behalf of ComEd as a

Partner of Jenner & Block LLP.

        2.    Ms. Littleton is no longer a Partner at Jenner & Block LLP.

        3.    ComEd will continue to be represented by the undersigned counsel of record from

Jenner & Block LLP.

        4.    Neither party will be prejudiced by the withdrawal of the appearance of Ms.

Littleton.


        WHEREFORE, ComEd respectfully requests that the Court enter an order granting leave

to withdraw the appearance of Gayle E. Littleton as counsel for ComEd.
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Dated: November 18, 2020                    Respectfully submitted,


                                              /s/ Terrence J. Truax
                                              Terrence J. Truax
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                                              Counsel for Defendant
                                              Commonwealth Edison Company




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                                 CERTIFICATE OF SERVICE

       I, Terrence J. Truax, an attorney, certify that I caused copies of the foregoing MOTION

TO WITHDRAW APPEARANCE OF GAYLE E. LITTLETON to be served on all counsel

of record via the Court’s electronic filing system.




                                                   /s/ Terrence J. Truax
                                            Counsel for Defendant Commonwealth Edison
                                            Company
